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     AO 93 (Rev. 11/13) Search and Seizure Warrant


                                           U NITED S TATES D ISTRICT C OURT
                                                                     for the
                                                           District of South Dakota
                     In the Matter of the Search of
                                                                     )
       Apartment, hotel room, storage units, and vehicles            )    Case No. 5:19-mj-       145
      connected to Edward Martin and Sara Skinner, more              )
      fully described in Attachment A, attached hereto and           )
                    incorporated by reference.
                                                                     )
                                                                     )

                                                     SEARCH AND SEIZURE WARRANT

    To: Any authorized law enforcement officer

            An application by a federal law enforcement officer or an attorney for the government requests the search of the
    following person or property located in the District of South Dakota (identify the person or describe the property to be searched ·
    and give its location):


              See ATTACHMENT A, attached hereto and incorporated by reference

            I find that the affidavit, or any recorded testimony, establ ish probable cause to search and seize the person or
    property described above, and that such search will reveal {identify the person or describe the property to be seized):

         Evidence ofa crime in violation of21 U.S.C. §§ 846, 841(a)(l), and 841(b)(l)(A), as described in
    ATTACHMENT B, attached hereto and incorporated by reference.

            I find that the affidavit, or any recorded testimony, establishes probable cause to search and seize the person or
    property.

              YOU ARE COMMANDED to execute this warrant on or before December 25, 2019 (not to exceed 14 days)

        D in the daytime 6:00 a.m. to 10 p.m.            ~ at any time in the day or night because good cause has been established.


            Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
    taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at
    the place where the property was taken.

            The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
    inventory as required by law and promptly return this warrant and inventory to Daneta Wollmann              •
                                                                                        (United States Magistrate Judge)

       D Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
    § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or
    whose property, will be searched or seized (check the appropriate box)
       D for ___ days (not to exceed 30).                  •
                                                          until, the facts justifying, the later specific date of _ _ _ _ __
/
       Jg! I find that good cause has been established to authorize the officer executing this warrant to not provide notice prior
    to the execution of the search warrant, i.e., "no knock".            /)

    Dateandtimeissued:Decemberll,2019                                      ~                 Judge's signature
                                                                                                                   -


    City and state:           Rapid City, SD                                  Daneta Wollmann, U.S. Magistrate
                                                                                             Printed name and title


                                                                                      CC: AUSA Rich
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 AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)



                                                              Return
Case No.:                            Date and time warrant executed:       Copy of warrant and inventory left with:
5:19-mj- 145
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                           Certification

         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
 to the designated judge.



Date:
                                                                               Executing officer's signature



                                                                                 Printed name and title




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                                      UNITED STATES DISTRICT COURT
                                                          for the
                                                District of South Dakota
                                                   Western Division
             In the Matter of the Search of:             )
                                                         )       Case No. 5:19-mj- 145
  Apartment, hotel room, storage units, and vehicles     )
 connected to Edward Martin and Sara Skinner, more )
 fully described in Attachment A, attached hereto and )
               incorporated by reference.                )
                                         APPLICATION FOR A SEARCH WARRANT

         I, a federal law enforcement officer, request a search warrant and state under penalty of perjury that I have reason
to believe that on the following person or property (identify the person or describe the property to be searched and give its location) :

See ATTACHMENT A, which is attached to and incorporated in this Application and Affidavit

located in the District of ----=S-=o-=u=th-'--D=-=a=k-=-ot=a'--~' there is now concealed (identify the person or describe the property to be seized):

See ATTACHMENT B, which is attached to and incorporated in this Application and Affidavit
          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 [gl evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  ~ property designed for use, intended for use, or used in ~ommitting a crime;
                  D a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
                           Code Section                                                   Offense Description
                  21 U.S.C. §§ 841(a)(l) and 846                                          Conspiracy to Distribute Controlled Substance


          The application is based on these facts:
          X Continued on the attached affidavit, which is incorporated by reference.
          ~ Your applicant requests that no notice be given prior to the execution of the search warrant, i.e., "no knock",
          the basis of which is set forth in the attached affidavit.
          ~ Your applicant requests authorization to serve the search warrant any time day     night pursuant to Fed. R.
          Crim. P. 41(e)(2)(A)(ii), the basis of which is set forth in the attached 1davit.


                                                                                                               Applicant's signature

                                                                                          Riley J. Cook, ATF Special Agent
                                                                                                               Printed name and title
Sworn to before me and:          D
                                [8]

Date:     December 11, 2019


City and state:      Rapid City, SD                                                               Daneta Wollmann, U.S. Magistrate
                                                                                                               Printed name and title
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                                         ATTACHMENT A

                     DESCRIPTION OF LOCATION TO BE SEARCHED

The premises, residence, vehicles, and surrounding curtilage belonging to Sara SKINNER located at 706
Taylor Avenue, Apartment #2, Rapid City, SD 57701. The structure is a multi-family unit. · Apartment
#2 is on the ground-level with a south facing door. The number '2' can be observed to the right (east) of
the entry door.
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The hotel room of Edward MARTIN at the Econo-Lodge located at 625 East Disk Drive, Room #326.




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Rapid City Self Storage located at 2000 Seger Drive, Unit #74, Rapid City, SD 57701. The unit is an
end unit with the number '74' clearly displayed in the middle of the large white garage door.




Rapid City Self Storage located at 2280 Seger Drive, Unit #281, Rapid City, SD 57701. The unit is
found between unit 280 and 282 with the number '281 ' clearly displayed in the upper-corner near the
entrance door.




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The 2008 Red Ford Escape bearing SD License Plate Number 2V7098 and registered to Sara
SKINNER.




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                                    ATTACHMENT B

                       DESCRIPTION OF ITEMS TO BE SEIZED

The evidence, fruits, and or instrumentalities of violations of 21 U.S.C. §§ 841(a)(l)
and 846, particularly the following:
1.     All controlled substances.

2.     Books, records, receipts, notes, ledgers, photographs and other papers relating
       to the importation, transportation, ordering, purchase and distribution of
       controlled substances.

3.     All items determined to have been used or likely to be used for the packaging,
       weighing, transportation, shipping, use, distribution, storage, or processing of
       any controlled substance, including safes.

4.     Vessels, implements and furniture used in connection with the manufacture,
       production, storage or dispensing of such drugs together with articles of personal
       property tending to establish the identity of the person(s) in control of
       contraband related paraphernalia.

5.     All U.S. or foreign currency, or other forms of monetary instruments, or other
       financial commodities including precious metals, or other negotiable
       inst ruments, including re-fillable debit cards and receipts indicating the sending
       or possession of such cards.
6.     Papers, tickets, notes, schedules, receipts, and other items relating to domestic
       and international travel.

7.     Indications of occupancy, residency, and/or ownership of the premises described
       herein, including but not limited to utility and telephone bills, envelopes, rent
       receipts, repair bills, credit cards receipts, keys and articles of clothing.

8.     Vehicle titles, registrations and other paperwork tending to show the
       identification of ownership and/ or controlling parties of vehicles.
9.     All contact lists, ledgers, calendars, notes, spreadsheets, diaries, contact
       information and appointment books to identify conspirators, customers,
       enforcers, or suppliers potentially involved in violating 21 U.S.C. §§ 84l(a)(l)
       and 846.
10.    Books, records, receipts, bank statements and records, money drafts, letters of
       credit, money orders, cashier's checks, receipts, passbooks, bank checks, safe
       deposit box keys, storage locker keys, and other items of evidencing the
       obtaining, secreting, transfer, and/ or concealment of assets and the obtaining,
       secreting, transfer, concealment and/or expenditure of money. This is meant to
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       include any record reflecting the rental of a storage locker, rental facility, or other
       property, including hotel rooms, in which controlled substances could be stored.

11.    Firearms, ammunition, paraphernalia associated with the possession and/ or
       use of firearms , including but not limited to holsters, cases, or receipts indicating
       the purchase or sale of such items.

12.    Call history information on the landline phone for the residence, to include the
       playing and recording of any messages left on any telephone answering device
       located on the premises.

13.    Surveillance devices, cameras, etc. installed at the location described in
       Attachment A.

14.    Cell phones, tablets, and computers capable of being used to facilitate or
       document the distribution, sales, trafficking, or possession of controlled
       substances along with any and all information contained on these devices to
       include, but not limited to:

          a. Text messages;
          b. Telephone lists and call logs;
          c. All contact information, names, aliases, and telephone numbers stored in
             the phone, including any telephone number directory stored in the
             memory of the phone;
          d. The content of any and all voicemail messages;
          e. Browser history, including, but not limited to, "bookmarked" or favorite
             web sites and search terms entered into internet search engines;
          f. Email messages;
          g. Deleted data, receipts, notes, ledgers, and other information relating to the
             possession, sale and transfer of controlled substances;
          h. All images, photographs and videos;
          1. Any and all records, showing dominion, ownership, custody, or control
             over the phone.




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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                                WESTERN DIVISION


IN THE MATTER OF THE SEARCH OF:                      Case No. 5: 19-mj- 145
Apartment, hotel room, storage units, and
vehicles connected to Edward Martin and Sara         AFFIDAVIT IN SUPPORT
Skinner, more fully described in Attachment A,       OF SEARCH WARRANT
attached hereto and incor orated b reference.

STATE OF SOUTH DAKOTA

COUNTY OF PENNINGTON

       I, Riley J. Cook, Special Agent with Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), being duly sworn, deposes and states under penalty of perjury that

the following is true to the best of my information, knowledge and belief.

                    INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Special Agent ("SA") with the United States Bureau of Alcohol,

Tobacco, Firearms, and Explosives ("ATF"), currently assigned to the Rapid City

Satellite Office. I have been employed by the ATF since July, 2014. Prior to ATF, I was

employed as a Special Agent with the South Dakota Division of Criminal Investigation

where I was assigned to investigate felony crimes including, but not limited to,

narcotics trafficking and other types of violent crime. I have completed the Criminal

Investigator Training Program at the Federal Law Enforcement Training Center

 ("FLETC").   I have also completed ATF Special Agent Basic Training course.      While

. attending the academies at FLETC in Glynco, Georgia, I received specialized training

 concerning violations of the Gun Control Act within Title 18 of the United States Code

 and violations of the National
                            I
                                Firearms Act within Title 26 of the United States Code.
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      2.    As a law enforcement officer, I have participated in numerous federal and

state investigations involving the sale, possession, and trafficking of firearms and/ or

controlled substances.    Through my participation in these investigations, I have

debriefed numerous defendants, informants, confidential sources, and witnesses who

had personal knowledge regarding firearms and/ or narcotics trafficking. I have also

participated in undercover operations, conducted physical and electronic surveillance,

used informants, seized firearms and narcotics, executed search warrants, and made

arrests.

      3.    Based on my training and experience, I am aware that drug traffickers

often use mail carriers (UPS, FedEx, USPS) to ship/receive illegal narcotics and to

exchange funds for the purchase of additional narcotics. The funds are commonly in

the form of U.S. currency. I am also aware that drug traffickers often use expedited

mailing services, which provide real-time tracking to anticipate and verify delivery.

      4.    Based on my training and experience, I am aware individuals involved in

illegal activities such as the one described above will commonly have other illegal items

possessed within their property, vehicles, residence , storage units, and etc.

      5.    Based on my training and experience, I know that individuals involved

with illegal activity, such as the distribution of illegal drugs or the trafficking of

firearms , will often store the contraband away from their primary residence, such as

trap houses or a rented storage unit, in effort to avoid detection from law enforcement.

      6.    Based on my training and experience, I know that persons involved in the

distribution of controlled substances often keep records that include names and

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telephone numbers of drug customers, suppliers, and other co-conspirators.

Additionally, persons involved in the distribution of controlled substances, often have

books, records, receipts, notes, ledgers, and other papers related to the transportation,

ordering, purchase, sale and distribution of controlled substances.         Additionally,

persons involved in the distribution of controlled substances often have lists of persons

who may owe debts or money to distributors for drugs that are fronted to individuals.

In the drug subculture, the term "fronted" means giving someone drugs up front and

having to repay the person later.     I am aware that individuals involved with the

distribution of controlled substances communicate through multiple medias, including

telephone calls, text messages, emails, and Facebook messages. I am further aware

that persons involved in the distribution of controlled substances meet with purchasers

at various locations, and the data of the locations visited may be stored on a GPS

device.

      7.    Based on my training and experience as a law enforcement officer, I know

that persons involved with the distribution of controlled substance will often have

amounts of U.S. currency stored, secreted, or hidden on their person, in their vehicles,

or in their residence and curtilage. Often they will store their currency on their person,

or in other places, which includes other residences. They do these things in order to

avoid detection by law enforcement or to protect what money they have, or to avoid .

being burglarized or robbed by persons involved in the drug subculture.

      8.     Based on my training, knowledge and experience as a law enforcement

officer, I know that persons involved with the distribution of controlled substances will

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possess firearms, stored, secreted, or hidden on their person, in their vehicles, or in

their residence and curtilage.     They do these things in furtherance of narcotics

trafficking or distribution, and for protection.

      9.     Based on my training, experience, and participation in illegal firearms

investigations to include, but not limited to, manufacturing and sales, violent crimes,

and prohibited persons in possession of firearms, I have learned that .persons

prohibited from possessing firearms and/ or ammunition gain access to firearms

and/ or ammunition through illegal means including utilizing straw purchasers,

purchasing firearms on the "black market," stealing firearms, utilizing the internet to

arrange private firearm sales, and bartering narcotics in exchange for firearms and/ or

ammunition. Persons prohibited from possessing firearms and/or ammunition hold

onto and maintain possession of their illegally acquired firearms and/or ammunition

because of the extra efforts expended and the premiums paid when getting access to

firearms and/ or ammunition. Persons prohibited from possession of firearms and/ or

ammunition maintain their firearms and/ or ammunition in their homes and vehicles

to allow for easy access to the firearms and/ or ammunition and to maintain possession

of the firearms and/ or ammunition in a secure area.

      10.    Based on my training and experience, I know that there will be evidence of

the individual's exercise of dominion and control over the firearms and/ or ammunition

in the immediate area where individuals store their firearms and ammunition. For

example, if a firearm and/ or ammunition were stored in a particular drawer, the drawer

would also routinely contain items such as documents, cards, letters, photographs,

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and physical objects such as articles of clothing that will identify the specific individual

or individuals that exercise dominion and control over the particular area.

      11.    Based on my training, knowledge and experience as a law enforcement

officer, I know that persons involved in the distribution of controlled substances often

have photographs and/ or home videotapes in particular of co-conspirators, assets,

and/or controlled substances.      I have been involved in drug investigations where

photographs and/ or videotapes have been found during search warrants.               These

photographs and/ or videotapes have shown persons smoking, using, or ingesting, as

well as persons displaying their drugs and/or cash.

      12.    Based upon my training and experience, I am aware that individuals use

a variety of mobile devices to coordinate drug sales and purchases. I am further aware

that mobile devices are a variety of sizes and may be on someone's person. I am aware

that these devices can be valuable and that people often keep mobile devices in safe

locations, including locations that are easily accessible to them, on their person, in

their residence, or within their vehicle.

      13.    Based upon my training and experience, I know that computer hardware

and electronic files may be important to a criminal drug investigation in that they may

be used to coordinate drug sales or purchases, to manage the records of a drug

trafficking organization, or to store images or video that may be evidence of ingestion,

possession, or distribution of controlled substances. The warrant application in this

case requests permission to seize computer and other electronic hardware and devices

that may be relevant to the possession or distribution of controlled substances,

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because they may contain files , text, images and/ or video of drug-related activity. I

believe that in this case, the computers, cellular phones and electronic devices and

media are containers for evidence and are instrumentalities of the crime under

investigation.

      14.     Based on my training · and experience, I know that search warrants of

residences usually reveal items that tend to show dominion and control of the property

searched, to include utility bills, telephone bills, correspondence, rental agreements

and other identification documents.

      15.     Based on my training and experience as a law enforcement officer, I know

that persons involved with the distribution of controlled substances use scales, which

include electronic, manual, hand-held, and triple beam, to weigh the product.

Additionally, persons involved in the distribution of drugs often use bags, to include

plastic sandwich bags, plastic and paper grocery bags, and jewelry bags, to package

their controlled substances. This is packaging that is often found when persons sell

small amounts of drugs in quantities of ounces to grams.           Additionally, persons

·involved in the possession and distribution of drugs often use bowls, pipes, rolling

papers and other drug-related paraphernalia for the processing, ingestion, and/ or

distribution of drugs.

      16.     Based upon my training and experience, I know that computer hardware,

software, and elec~ronic files may be important to a criminal investigation in two

distinct    ways:   (1)   the   objects   themselves   may   be   contraband,   evidence,

instrumentalities, or fruits of crime, and/or (2) the objects may be used as storage

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devices that contain contraband, evidence, instrumentalities, or fruits of crime in the

form of electronic data. This Affidavit also requests permission to seize all computers,

cellular phones, and any other electronic media that may contain evidence of

communications regarding drug matters if it becomes necessary for reasons of

practicality to remove the hardware and conduct a search off site. I believe that in this

case, the computers, cellular phones and electronic media are containers for evidence,

containers for contraband, and also themselves are instrumentalities of the crime

under investigation.

      17.   I am aware that urine samples are used to conduct a urinalysis, which is

a laboratory analysis of the urine. I am aware that urine can be tested for various

drugs. Each drug has a time period in which it stays within the user's body. The time

periods vary from one day to several days.

      18.   This affidavit is based on personal knowledge that I have gained from my

participation in this investigation as well as information from the following sources,

among ·others: oral reports of other agents and officers involved in the investigation;

written reports from other agents and officers; conversations with such agents and

officers; and physical surveillance conducted by such agents and officers.

      19.   I respectfully submit this affidavit pursuant to Rule 41 of the Federal Rules

of Criminal Procedure in support of a request for a search warrant for the hotel room

of Edward MARTIN at the Econo-Lodge located at 625 East Disk Drive, Room #326,

Rapid City, SD 57701; the residence of Sara SKINNER located at 706 Taylor Avenue,

Apartment #2, Rapid City, SD 57701; Rapid City Self Storage located at 2000 Seger

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Drive, Unit #74, Rapid City, SD 57701; the 2008 Red Ford Escape bearing SD License

Plate Number 2V7098; and the Person or Body of Edward MARTIN and Sara SKINNER,

to include a urine sample and/ or blood sample, described in Attachment A, for the

items listed in Attachment B (both attachments of which are incorporated by reference

herein), which are fruits, instrumentalities, and evidence in violation of the Possession

with Intent to Distribute and/ or Distribution of a Controlled Substance, in violation of

21 U.S.C. § 841; and Conspiracy to Distribute a Controlled Substance, in violation of

21 U.S.C. § 846. This affidavit is made for the sole purpose of demonstrating probable

cause for the issuance of this search warrant and does not set forth all of my knowledge

of this investigation.


                         FACTS IN SUPPORT OF PROBABLE CAUSE

      20.    Beginning in September, 2019, a South Dakota Division of Criminal

Investigation (DCI) Confidential Informant (CI) (CI # 19-4042) identified an individual,

later identified by law enforcement as Edward Lamont MARTIN, as the Cl's source of

methamphetamine. Prior to being signed up as a CI, the CI had been stopped by law

enforcement and found in possession of methamphetamine and drug paraphernalia.

The CI has a criminal history including felony convictions. The CI provided MARTIN's

cell phone number to be (605)-646-8712. The CI also provided MARTIN's physical

address to be 722 Myrtle Avenue, Rapid City, SD. The CI stated that MARTIN had been

sourcing the CI with methamphetamine for approximately four (4) to five (5) months.

MARTIN has provided the CI with¼ pound quantities of methamphetamine on four (4)

separate occasions, as well as multiple ounces quantities of methamphetamine, single
                                          '8
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ounce quantities of methamphetamine, and ½ ounce quantities of methamphetamine

throughout the time MARTIN has sourced the CI with methamphetamine.

      21.   The CI provided SD DCI Special Agent BJ George with a cell phone that

contained a photograph of MARTIN's Nevada identification card that the Cl had stored

on the cell phone. The CI provided SA George with access to the cell phone in order

for SA George to retrieve the photograph of MARTIN's driver's license.     The CI also

identified an incident in which MARTIN provided the CI with a 'MAC- 10' firearm. The

CI stated that MARTIN did not want to be found in possession of the firearm by law

enforcement. The CI provided that the 'MAC- 1 O' was being stored at a residence near

Sturgis, SD. It should be noted that on September 2, 2019, law enforcement, with the

assistance of the CI, recovered the 'MAC-10' that the CI identified was provided to the

CI by MARTIN.

      22.   On September 2, 2019; SA George met with the CI (CI #19-4042). At that

time, the CI indicated that the CI was able to purchase two (2) ounces of

methamphetamine from MARTIN. SA George advised the CI to arrange the controlled

purchase of methamphetamine from MARTIN. On this date, the CI met with MARTIN ·

at the residence located at 722 Myrtle Avenue, Rapid City, SD. A female, identified by

law enforcement as Sara SKINNER, was also present at the residence. A red Ford

Escape bearing South Dakota license plate number 2V7098 was parked on the street

directly in front of the above identified address. SKINNER is the registered owner of

the red Ford Escape bearing South Dakota license plate number 2V7098. Further, it



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was known to law enforcement that SKINNER has a history of possessing/use of a

controlled substance (methamphetamine).

      23.   On September 2., 2019, the CI and MARTIN travelled in the Cl's vehicle

and followed SKINNER, who drove the red Ford Escape referenced above, to a residence

located at 340 St. Andrew Street, Rapid City, SD. It should be noted that the Unified

Narcotics Enforcement Team (UNET) executed a State of South Dakota search warrant

at the residence located at 340 St. Andrew Street, Rapid City, SD regarding the use

and distribution of heroin. Upon arrival at the residence, the CI and MARTIN waited

in the Cl's vehicle as SKINNER entered the residence. While waiting in the Cl's vehicle,

MARTIN informed the CI that MARTIN was getting one ( 1) pound of methamphetamine

shipped to MARTIN and was expected to receive the package containing the

methamphetamine on Thursday (September 5) or Friday (September 6).             MARTIN

informed the CI that the CI was able to purchase one (1) ounce of methamphetamine

for $675.00; ¼ pound of methamphetamine for $2,700.00; or ½ pound of

methamphetamine for $5,400.00.       MARTIN also informed the CI that MARTIN was

aware of an individual attempting to sell semi-automatic rifles.

      24.   When SKINNER departed the residence located at 340 St. Andrew Street,

Rapid City, SD, it was determined that SKINNER was not able to provide the CI with

the two (2) ounces of methamphetamine. At the time, MARTIN contacted an unknown

individual via cell phone. It was then determined that MARTIN and the CI would return

to 722 Myrtle Avenue, Rapid City, SD and a separate source of methamphetamine

would be meeting at MARTIN's residence. When MARTIN and the CI arrived at 722

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Myrtle Avenue, Rapid City, SD, law enforcement assisting with the controlled purchase

operation observed two (2) Native American males exit a black Pontiac passenger car

bearing South Dakota license plate number 2V9061. MARTIN and the two (2) unknown

Native American males entered the residence at 722 Myrtle Avenue. Ultimately, the CI

also entered the residence.    MARTIN, the CI, and the unknown males entered a

bedroom, which was identified by the CI as MARTIN's bedroom. The CI stated that

MARTIN and the unknown males were weighing methamphetamine and instructed the

CI to obtain baggies and weigh out two (2) ounces of methamphetamine, which the CI

agreed to do. The CI provided MARTIN with documented agent cashier funds utilized

to purchase illegal drugs and other contraband. The CI then departed the residence

and travelled to a pre-determined location where the suspected methamphetamine was

provided to SA George. The suspected methamphetamine was field tested and was

presumptive positive for methamphetamine.

      25.   Once the CI departed the residence, law enforcement assisting with the

controlled purchase operation observed the two (2) unknown Native American males

exit 722 Myrtle Avenue and enter 724 Myrtle Avenue. It should also be noted that

following the controlled purchase on September 2 , 2019, MARTIN contacted the CI via

cell phone, which was not audio recorded. At that time, MARTIN informed the CI that

the individual attempting to sell firearms had one AR-style firearm that the CI was able

to purchase for $1,200.00. MARTIN informed the CI that the individual attempting to

sell firearms is employed and would be available on the evening of September 3, 2019.



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      26.   On September 4, 2019, SA George and Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF) SA Riley Cook met with the CI regarding a potential

controlled purchase of firearms, which would be facilitated by MARTIN. On this date,

the CI travelled to MARTIN's residence located at 722 Myrtle Avenue, Rapid City, SD.

The CI made contact with MARTIN at which time MARTIN discussed supplying the CI

½ pound of methamphetamine in exchange for $5,400.00 and then providing the CI

with an additional three (3) ounces of methamphetamine for $700.00.          MARTIN

informed the CI that the methamphetamine was shipped and would be received by

MARTIN on Friday, September 6, 2019.

      27.   MARTIN informed the CI that the individual in possession of the firearms

and attempting to sell firearms lived across the street from MARTIN. During a phone

call with the individual, MARTIN referenced the source of the firearms as 'Keeler.' It

was identified that Keeler STANDS resides at 723 Myrtle Avenue, Apartment #1, Rapid

City, SD.   MARTIN instructed the CI to return to MARTIN's residence later in the

evening to purchase firearms.

      28.   On September 4, 2019, SA George and SA Cook met with the CI (CI #19-

4042). The CI had arranged a controlled purchase of firearms facilitated by MARTIN.

It was suspected STANDS was in possession of the firearms.        The CI travelled to

MARTIN's residence and made contact with MARTIN.           The CI entered MARTIN's

residence and made contact with 'Sara,' identified by the CI as Sara SKINNER. While

the Cl was at MARTIN's residence and waiting for STANDS arrival, SKINNER contacted



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STANDS via cell phone and requested STANDS travel to the residence in order to

complete the controlled purchase of firearms.

      29.   After an extended period of time, STANDS arrived at MARTIN's residence

travelling in a blue sedan bearing South Dakota license plate number 2U3907. The CI

made contact with two (2) individuals that exited the blue sedan.         STANDS was

identified by the CI as one of the individuals who arrived in the blue sedan. STANDS

also indicated that he may reside across the street from MARTIN. STANDS and the

unidentified male produced two (2) firearms, later identified as a DPMS, model A-15,

5.56 caliber semi-automatic rifle (SN: DKF910340) and an Aero Precision, model SA

15, 5.56 caliber semi-automatic pistol (SN: JT015684). The CI then purchased both

firearms for $1,200.00; however, it should be noted that it was agreed by STANDS to

provide MARTIN with $200.00 for facilitating the controlled purchase of the firearms.

The CI then provided MARTIN with $200.00 of documented agent cashier funds. The

CI later identified that MARTIN provided SKINNER with $100.00 from the documented

agent cashier funds provided to MARTIN.         Therefore, at the time of the controlled

purchase, STANDS received $1,000.00 and MARTIN received $200.00 of documented

agent cashier funds from the CI. It should also be noted that the unidentified male

indicated that a shotgun may also be available for purchase. In addition, STANDS also

informed the CI that STANDS had methamphetamine being transported and was

currently near Scottsbluff, Nebraska. STANDS indicated that he may be able to provide

the CI with methamphetamine.



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      30.   On September 7, 2019, CI #19-4042 contacted SA George and advised that

MARTIN had contacted the CI and indicate that the package containing the suspected

methamphetamine was to be delivered on this date. Law enforcement assisting with

the investigation established surveillance of the MARTIN's residence located at 722

Myrtle Avenue, Rapid City, SD.     While conducting surveillance, law enforcement

observed an employee with the United States Postal Service (USPS) place a package on

the ground in front of 722 Myrtle Avenue, Rapid City, SD. Shortly thereafter, MARTIN

advised the CI that the CI was able to purchase methamphetamine from MARTIN. The

CI was advised to arrange the controlled purchase of methamphetamine from MARTIN.

      31.   On September 7, 2019, the CI travelled to 722 Myrtle Avenue, Rapid City,

SD. Upon arrival, the CI made contact with MARTIN and SKINNER. The CI conducted

a controlled purchase of approximately ½ pound of suspected methamphetamine from

MARTIN. Prior to the Cl's departure from MARTIN's residence, MARTIN asked the CI

if the CI would send money, via Walmart, to MARTIN's 'cousin' in Las Vegas, NV.

Ultimately, the CI provided SA George three (3) bags containing a hard-crystal

substance, which field tested positive for methamphetamine.

      32.   On September 16, 2019, SA George was contacted by CI #19-4042 and

informed that STANDS was in possession of a shotgun and the CI was able to purchase

the firearm from STANDS. In addition, the CI was able to purchase four (4) ounces of

methamphetamine from STANDS. The CI was advised to arrange the purchase of the

firearm and methamphetamine from STANDS. The CI was to meet with STANDS at



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STANDS' residence located at 723 Myrtle Avenue, Rapid City, SD. The Cl was advised

to arrange a controlled purchase of the firearm and methamphetamine from STANDS.

      33.     On September 16, 2019, The CI travelled to STANDS' residence located at

723 Myrtle Avenue, Apartment #1, Rapid City, SD. Prior to the Cl's arrival at STANDS'

residence, law enforcement assisting with the controlled purchase operation observed

MARTIN walk from STANDS' residence to MARTIN's residence located at 722 Myrtle

Avenue, Rapid City, SD. Upon the Cl's arrival at STANDS' residence, the CI makes

contact with STANDS outside of the residence.     It was determined to complete the

controlled purchase of the firearm in the Cl's vehicle. STANDS indicated that the four

(4) ounces of methamphetamine originally discussed was not available. STANDS stated

that the source of supply for the methamphetamine was his "sister's guy."

     '34_     The CI completed the controlled purchase of a Mossberg, model S00A, 12

gauge pump-action shotgun (SN: K960852) from STANDS. The CI provided STANDS

with $500.00 of pre-recorded AC funds in exchange for the firearm. STANDS would

not reduce the price of the firearm; however, STANDS agreed to reduce the price of the

methamphetamine when it became available for the CI to purchase. The CI requested

information    regarding   the AR-10   that    STANDS   had   discussed   in   previous

conversations with the Cl.    STANDS stated that the owner of the AR-10 informed

STANDS that the firearm was valued at $3,500.00; however, the firearm could be

purchased by the CI for one-half or one-quarter of the value of the firearm. STANDS

stated that he would ask for an additional $200.00 from the CI for facilitating the

purchase of the AR-10. STANDS stated that the AR-10 is bolt-action. The CI requested

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that STANDS send the CI a picture of the AR-10. STANDS did provide the CI with a

digital photograph of the AR-10. STANDS also informed the CI that STANDS was able

to sell the CI an additional pump-action shotgun for $125.00. STANDS exited the Cl's

vehicle and entered 723 Myrtle Avenue, Apartment # 1, Rapid City, SD.

       35.      Following the controlled purchase of the Mossberg, model 500A, 12 gauge

pump-action shotgun (SN: K960852) from STANDS, the CI went to MARTIN's residence

located at 722 Myrtle Avenue. The CI made contact with MARTIN while waiting to see

if STANDS was able to obtain the originally agreed upon methamphetamine. While

speaking with MARTIN, MARTIN informed the CI that MARTIN needed to wire money

to MARTIN's cousin as soon as possible.        MARTIN informed the CI that the money

needed to be wired to 'Christopher James' in Las Vegas, NV. The money needed to be

sent in order for MARTIN to receive methamphetamine. The CI agreed to assist MARTIN

in sending a money transfer from Walmart.            Shortly thereafter, the CI contacted

STANDS and was informed that the methamphetamine was not available for purchase

on this date. STANDS did state that the CI would be able to purchase four (4) ounces

ofmethamphetamine on September 17, 2019 for $500.00 less.

       36.      On September 17, 2019, MARTIN informed the CI that if MARTIN was able

to   transfer    the   money   to   MARTIN's     cousin,   MARTIN   would   be   receiving

methamphetamine which could be purchased by the Cl.             The CI then travelled to

Walmart located at 1200 N. Lacrosse Street, Rapid City, SD with MARTIN. The CI

agreed to transfer the money for MARTIN and MARTIN provided the CI with $200.00 to

be transferred to 'Christopher James' in Las Vegas, NV. The CI entered Walmart and

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completed the transfer. As MARTIN and the CI travelled back to MARTIN's residence,

the CI and MARTIN further discussed the cost and quantities of methamphetamine

that the CI was able to purchase from MARTIN. The Mossberg, model 500A, 12 gauge

pump-action shotgun (SN: K960852) was ultimately provided to ATF SA Cook.             It

should be noted that it was identified that 'Christopher James' resides at 6500 West

Charleston Boulevard, Apartment 128, Las Vegas, NV 89146. Further, throughout the

investigation, it was determined that multiple packages have been sent via the United

Parcel Service (UPS) from Christopher James or known associates to MARTIN or known

associates.

      37.      On September 17, 2019, CI #19-4042 contacted DCI SA George and

advised that the CI was able to purchase ¼ pound of methamphetamine from STANDS.

The controlled purchase of the suspected methamphetamine was initially agreed to

occur on September 16, 2019.        The CI was advised to arrange to purchase the

suspected methamphetamine from STANDS.              Ultimately, it was determined that

STANDS and the CI would travel to Sturgis, SD in order to complete the controlled

purchase of methamphetamine.         The CI met with STANDS at STANDS' residence

located at 723 Myrtle Avenue, Apartment #1, Rapid City, SD prior to departing to

Sturgis, SD.

      38.      Pursuant to   the   investigation   and   information   gathered   by law

enforcement assisting with the controlled purchase, it was determined that a black KIA

with paper plates was involved with the distribution of methamphetamine with

STANDS. While the CI and STANDS travelled to Sturgis, SD, it was determined that

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the controlled purchase of methamphetamine would occur in the McDonald's parking

lot in Sturgis. Based on information gathered throughout the controlled purchase, it

was believed that the driver of the black KIA with paper plates was Tyler OLSON.

STANDS stated that OLSON's brother, believed to be Mason Olson, was convicted of a

conspiracy charge and currently incarcerated in Federal prison. STANDS identified

the last name of the individual who is obtaining the methamphetamine on this date as

'OLSON.' STANDS discussed receiving cash from the CI for facilitating the controlled

purchase from OLSON.

      39.   Upon arrival at McDonald's, STANDS discussed entering OSLON's vehicle

when it arrived to obtain the methamphetamine and provide the methamphetamine to

the Cl. STANDS also discussed facilitating a robbery on an unknown individual. It

should be noted that while the CI and STANDS are waiting for OLSON to arrive at

McDonald's, surveillance units observed the KIA sedan at a residence in Sturgis, SD.

Shortly thereafter, the KIA arrived at McDonald's.

      40.   Upon arrival, the driver of the KIA, identified as Tyler OLSON, made

contact with the CI. The CI entered OLSON's vehicle. The CI provided OLSON with

documented agent cashier funds in exchange for approximately four (4) ounces of

suspected methamphetamine.       OLSON informed the CI that OLSON's brother is

currently incarcerated in Federal prison for a five-hundred (500) gram conspiracy.

OLSON informed the Cl that the CI needs to continue going through STANDS in order

to purchase methamphetamine from OLSON.              The CI and OLSON discuss the CI

purchasing marijuana from OLSON. OLSON indicated that he was able to provide the

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CI with half-pound and full-pound quantities of methamphetamine.        Following the

controlled purchase of methamphetamine from OLSON and STANDS, SA Cook and SA

George met with the CI and retrieved the suspected methamphetamine, which field

tested positive,for methamphetamine.

      41.   On September 19, 2019, SD DCI SA BJ George was contacted by CI #19-

4042 and advised that MARTIN was in possession of a                large quantity of

methamphetamine. The CI further stated that the CI was able to purchase ½ pound

of methamphetamine from .MARTIN. SA George advised the CI to arrange a controlled

purchase· of methamphetamine from MARTIN. On this date, a controlled purchase of

methamphetamine occurred from MARTIN in the parking lot of Jackpot Casino, Rapid

City, SD. The CI purchased ½ pound of methamphetamine from MARTIN in exchange

for documented agent cashier funds. Following the controlled purchase, the CI met

with law enforcement and provided the suspected methamphetamine to DCI SA

George. The suspected methamphetamine field tested positive for methamphetamine.

      42.   On October 4, 2019, the Rapid City Police Department (RCPD) initiated a

traffic stop with a black KIA with paper plates (dealer tag). The vehicle did not stop

and accelerated at a high rate of speed. RCPD initiated a vehicle pursuit. Ultimately,

the KIA maneuvered to avoid a crash with an uninvolved third-party vehicle and struck

a curb. The passenger of the vehicle was immediately taken into custody. The driver

of the vehicle, identified as Tyler OLSON, ran from the vehicle. OLSON's name was on

the paper plates (dealer tag) located on the vehicle. RCPD utilized a K-9 to track and

located OLSON, who was hiding under a semi-truck in a nearby parking lot.

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      43.   When law enforcement approached the KIA, a firearm was observed near

the driver's seat. The firearm was later identified as a Smith and Wesson, model 15-4·,

.38 caliber revolver (SN: 93K2660).    A search incident to arrest was conducted of

OLSON. At that time, a plastic container containing multiple jeweler bags were located

on his person.    The baggies. located on OLSON's person field tested positive for

methamphetamine. A purple jeweler bag was located in the passenger compartment

of the vehicle that contained a white crystal substance which field tested positive for

methamphetamine.

      44.   On October 5, 2019, RCPD were dispatched to a disturbance call in Rapid

City, SD. Upon arrival, law enforcement observed a gray Ford F-150 bearing South

Dakota license plate number 2J1472 departing from near the suspected location of the

disturbance. A traffic stop of the vehicle was initiated. While approaching the vehicle,

a RCPD Officer Holbrook heard a noise from the vehicle that he described was similar

to the discharge of a starter's gun. RCPD made contact with the occupants of the

vehicle. The driver was identified as Chase MCGUIRE and the passenger was identified

as Keeler STANDS. While law enforcement was talking with STANDS and MCGUIRE,

STANDS admitted to have unintentionally discharged a 9mm caliber pistol while

attempting to disassemble the firearm. STANDS identified that the firearm was then

placed under the passenger seat. STANDS stated that the round that was discharged

was a blank. STANDS stated that he commonly loads the first round with a blank to

serve as a "warning shot."



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      45.   Pursuant to the investigation, MCGUIRE provided law enforcement

consent to search the vehicle. MCGUIRE further provided that he was currently on

Probation with the State of South Dakota. During the search of the vehicle, the 9mm

semi-automatic pistol that STANDS had discharged and dissembled was located and

collected as evidence. Law enforcement also located in the passenger compartment of

the vehicle a jewelry bag containing a white reside that field tested positive for

methamphetamine. In the bed of the pickup, law enforcement identified a black back

pack. A gallon-sized plastic baggie was located in the back pack, which contained

approximately fifteen (15) ounces of suspected methamphetamine. Also located in the

bed of the pickup was a black nylon case containing .223 caliber semi-automatic rifle.

Both MCGUIRE and STANDS were in possession of a large quantity of U.S. currency.

The items collected as evidence were placed in the RCPD evidence facility.

      46.   On October 5, 2019, ATF SA Cook and DCI SA George conducted an

interview with STANDS following the traffic stop and contact with RCPD.      STANDS

stated that MCGUIRE advised STANDS to run from law enforcement when contact was

initially made by RCPD. STANDS stated that MCGUIRE was on probation and did not

want STANDS to be in the vehicle while possessing a firearm. STANDS stated that he

was in possession of a firearm, which was discharged when STANDS attempted to

disassemble the firearm, at the time RCPD initially made contact with the STANDS and

MCGUIRE. STANDS stated that the round that was discharged was a blank cartridge.

STANDS advised that he possessed the firearm for protection. STANDS also stated he



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has been arrested and convicted of a felony, but received a Suspended Execution of

Sentence.

      47.   SA Ge?rge advised STANDS that a large quantity of metharnphetarnine and

a rifle were located in the back of the vehicle MCGUIRE and STANDS were occupying.

STANDS stated that he was not aware of the metharnphetamine in the vehicle.

However, STANDS stated that STANDS had plans to shoot the rifle located in the

vehicle and possibly purchase the firearm. STANDS stated that he was not aware that

the firearm had been placed in MCGUIRE's vehicle. STANDS described the_rifle that

was located in the vehicle.     STANDS stated that the firearm was available to be

purchased for $1,000.00.      STANDS stated that he last utilized metharnphetarnine

approximately two (2) or three (3) days prior to the interview.

      48.   STANDS again stated that the metharnphetarnine located in the vehicle did

not belong to STANDS. STANDS indicated that MCGUIRE may have arrived at the

residence with the metharnphetarnine because STANDS did not observe any

metharnphetarnine in the residence.         SA George informed STANDS that law

enforcement may be aware of STANDS' involvement with illegal activities. STANDS

stated that he previously associated with Mason OLSON, who is currently in Federal

prison for drug offenses.    STANDS stated that he does have a history of using and

selling metharnphetarnine.    STANDS stated that he has also facilitated the sale of

metharnphetarnine in the past.       STANDS initially stated that he has not been

associated with the sale of firearms in the recent past; however, STANDS then stated

he may have been associated with the sale of firearms.

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      49.    STANDS stated that he and MCGUIRE have gone through approximately

one-half (1/2) pound of methamphetamine in the past two days. STANDS estimated

that there was approximately 209 grams of methamphetamine in the baggie located in

the vehicle occupied by STANDS and MCGUIRE.               STANDS stated that the

methamphetamine in the vehicle belonged to MCGUIRE.             STANDS stated that

MCGUIRE      has   requested   STANDS    and   MCGUIRE      purchase   a   pound    of

methamphetamine together for further distribution.

      50.    STANDS stated that Sara, who lives across the street and known to law

enforcement to be Sara SKINNER, has sold STANDS methamphetamine in the recent

past. STANDS stated that he has purchased a total of approximately one (1) pound of

methamphetamine from SKINNER in the past month and a half. STANDS stated that

SKINNER no longer resides on Myrtle Avenue and is currently staying in hotels in Rapid

City, SD. It should be noted that pursuant to the investigation, law enforcement had

identified that MARTIN and SKINNER were no longer residing at 722 Myrtle Avenue,

Rapid City, SD and would frequent various hotels throughout Rapid City.

      51.    STANDS identified an individual known to STANDS as 'Bones,' who is

known to law enforcement to be Edward MARTIN. STANDS has known MARTIN for

approximately one (1) month. STANDS stated that MARTIN is a 13th Street Crip from

Southern California.   STANDS stated that he has received methamphetamine from

MARTIN.     STANDS stated that he has distributed ten (10) to fifteen (15) pounds of

methamphetamine for       MARTIN.     STANDS     stated that MARTIN is       receiving

methamphetamine through the mail. STANDS provided that MARTIN is going to receive

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six (6) more pounds of methamphetamine through the mail in the near future. STANDS

indicated that he owes MARTIN $1,350.00 for methamphetamine. STANDS stated that

MARTIN may be receiving methamphetamine from a source in Las Vegas, Nevada.

STANDS identified multiple addresses in Rapid City, SD that MARTIN is having

methamphetamine shipped. STANDS stated that approximately three (3) weeks prior

to this interview, STANDS drove MARTIN to a residence on the west side of Rapid City,

SD in order to pick up a package containing methamphetamine. STANDS stated that

MARTIN has provided STANDS with a 9mm pistol in the recent past.

      52.   STANDS stated that Tyler OLSON provided STANDS with approximately

six (6) ounces of methamphetamine approximately one week prior to this interview.

STANDS stated that approximately one (1) week after OLSON was released from State

prison, OLSON arrived at STANDS' residence with approximately one (1) pound of

methamphetamine. STANDS stated that OLSON is driving a black 2020 KIA sedan.

      53.   On October 15, 2019, RCPD Detective Cade Bloomenrader conducted an

interview with a Source of Information (SOI #1).       At that time, SOI #1 reported

involvement in making trips to pick up methamphetamine from out-of-state sources,

and frequent drug use by smoking methamphetamine for the past several years. SOI

#1 reported that he/she, as well as Carmen DILLON and Sara SKINNER, assisted a

male subject in the Rapid City area with the sale of methamphetamine. This man is

nicknamed "Bones", known to law enforcement to be Edward Lamont MARTIN. SOI # 1

reported that MARTIN came to Rapid City from California specifically for the purpose

of selling drugs and has lived in Rapid City for approximately one (1) year.

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     54.    The SOI # 1 stated that MARTIN receives shipments of illegal drugs

(methamphetamine) through the mail, typically FedEx or the United Postal Service

(UPS). The packages are commonly addressed to DILLON and are kept at UPS or FedEx

for pickup. The SOI stated that MARTIN does not drive, but commonly rides with

SKINNER in a Ford Escape. The SOI advised that MARTIN has a storage unit, later

identified to be located at 2280 Seger Drive, unit #281. SOI # 1 stated that MARTIN

stores methamphetamine in the storage unit. SOI # 1 estimated that MARTIN travels

with approximately one (1) pound of methamphetamine for distribution and leaves the

remainder of MARTIN's methamphetamine in the storage unit.

      55.   SOI #1 stated that he/she has been assisting MARTIN in the distribution

of methamphetamine for approximately two (2) months. SOI # 1 estimated that he/ she

has received one (1) ounce of methamphetamine every other day from MARTIN, totaling

approximately thirty-five (35) ounces of methamphetamine in the time SOI #1 has been

dealing with MARTIN. SOI # 1 estimated that both DILLON and SKINNER has also

received similar quantities of methamphetamine from MARTIN. SOI #1 believed that

SKINNER likely received more, because SKINNER is in a relationship with Bone, and

SKINNER gets meth from MARTIN daily.          SOI #1 stated that SKINNER resides at

various hotels throughout Rapid City and will send money to MARTIN's source of

methamphetamine.

      56.   On October 22, 2019, RCPD Detective Bloomenrader spoke with DCI CI

#19-1576 (formerly referred to as SOI #1). The CI provided the location of a storage

unit belonging to Edward Lamont MARTIN. The CI again reported that MARTIN has a

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 storage unit at 2280 Seger Drive, Rapid City, SD. This property is secured with a gate, ,

 which can be accessed with a PIN, and the storage unit number is 285. CI verified this

 is the unit that Carmen DILLON gained access to, but belongs to MARTIN (likely

 registered to Sara SKINNER). The CI reported DILLON was recently in the

 Rosebud/Mission, SD area, selling methamphetamine. Once DILLON returns to Rapid

 City, the CI expects DILLON to pick up a shipment via FedEx or UPS, which will be

 promptly taken to the storage unit.            MARTIN will keep a      portion of the

 methamphetamine with him for sales and store the remainder in the unit.

       57.   On October 25, 2019, an electronic video surveillance unit (EVSU) was set-

 up in order to observe the area of the storage units believed to be used by MARTIN and

 associates in order to store methamphetamine.       Throughout the investigation, SA

 George has monitored the EVSU.

       58.   On October 31, 2019, SA George and ATF SA Cook condu,cted an interview

 with a Source of Information (SOI #2). At that time, SOI #2 identified a black male

 from Las Vegas, Nevada from whom she obtains methamphetamine. SOI #2 stated

· that he/she refers to the black male as "D." It should be noted that 'D' is believed to

 be Edward MARTIN and will be referred to as MARTIN. SOI #2 stated that he/she

 receives methamphetamine from MARTIN and MARTIN commonly socialized at the

 Jackpot II Casino or Toby's Casino in Rapid City. SOI #2 stated that approximately

 two (2) days prior to the interview with SA Cook and SA George, MARTIN contacted SOI

 #2 and advised that MARTIN would be in Pine Ridge, SD and was believed to be

 distributing methamphetamine.

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      59.       SOI #2 stated that he/she meets MARTIN at the Econo-Lodge, room #223,

located at 625 E. Disk Drive, Rapid City, SD, which is where MARTIN is staying. SOI

#2 stated that she/he has not observed MARTIN in possession of methamphetamine,

with the exception of the methamphetamine obtained by SOI #2 from MARTIN. SOI #2

stated that MARTIN would provide SOI #2 with methamphetamine and would request

sex in exchange.       SOI #2 did advise that she/he and MARTIN are in a sexual

relationship.    SOI #2 stated that MARTIN associates with a Native-American female

with long hair, believed to be SKINNER. SOI #2 has observed MARTIN and the Native-

American female together at casinos.

      60.   On November 4 , 2019, Detective Bloomenrader and SA George met with

CI #19-1576. At that time, the CI advised that shortly after being released from jail,

the CI made contact with SKINNER, who paid for the Cl's room at a local motel. The

CI stated that he/she and SKINNER travelled to a storage unit located at 2000 Seger

Drive, unit #74, Rapid City, SD. The CI stated that the storage unit is to the west of

the storage unit complex previously identified by the CI. The CI stated that SKINNER

retrieved multiple ounces of methamphet amine from the storage unit. The CI stated

that SKINNER was travelling in a red Ford Escape. On this date, the CI advised that

SKINNER was staying in the Ramada Inn, room #224 located at 1902 North Lacrosse

Street, Rapid City, SD . The CI stated that MARTIN was staying at the Econo-Lodge

located at 6215 East Disk Drive, Rapid City, SD.       On this date, the CI informed

Detective Bloomenrader that MARTIN and/ or SKINNER would be receiving a package

containing methamphetamine on November 5 , 2019.         The CI believed the package

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containing methamphetamine was getting shipped to Rapid City from Las Vegas, NV;

however, the CI was not aware of the carrier (FedEx, UPS, USPS, etc.).

         61.   On November 5, 2019, law enforcement assisting with the investigation

established surveillance at pre-determined locations relevant to the investigation.

SKINNER's vehicle, the red Ford Escape bearing South Dakota license plate number

2V7098 was located at the Ramada Inn referenced above. Law enforcement observed

a female, believed to be SKINNER, exit the hotel and enter the Ford Escape.        Law

enforcement observed SKINNER travel to the Econo-Lodge.         Shortly thereafter, the

vehicle departed the Econo-Lodge and an individual, believed to be MARTIN, was seated

in the front passenger seat of the vehicle.

         62.   The vehicle travelled to UPS located at 1430 Haines Avenue, Rapid City,

SD. The vehicle parked in front of the store for a short amount of time. After the

vehicle departed the area, RCPD Detective Trevor Tollman made contact with the staff

at UPS. Detective Tollman displayed a digital photograph of MARTIN, which the UPS

staff positively identified as MARTIN and indicated just shipped a package from the

store.    The UPS staff retrieved the package and a parcel shipping order for the

shipment.

         63.   It was determined that MARTIN is a frequent customer at the UPS store.

MARTIN often ships parcels to · 'Christopher James' at 6500 West Charleston Road,

#128, Las Vegas, NV. It was also learned that MARTIN recently entered the UPS store

with a pre-sealed padded envelope, approximately 8" x 12" in size. MARTIN informed

the UPS employee that the packaged contained clothing with a declared value of

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$60.00.     MARTIN also indicated the package was going to his son, which led . the

employee to believe JAMES was MARTIN's son. MARTIN paid $96.59 cash to ship the

package with a guaranteed delivery of November 6, 2019 by 10:30am. MARTIN did not

add insurance to the package, as the UPS store insures packages with a declared value

of up to $100.00. The employee indicated MARTIN normally pays for three (3) to five

(5) day ground shipping, and this was the only time they knew of MARTIN paying for

guaranteed next day delivery. This particular package would have cost MARTIN

approximately $13.99 to ship if MARTIN chosen the three (3) to five (5) day delivery.

      64.     On November 5, 2019, DCI SA George met with the management of Rapid

City Self Storage, who own/manage several self-storage facilities in the Rapid City area.

Rapid City Self Storage management provided SA George with a list of tenants for all

the storage units that Rapid City Self Storage manages. After reviewing the tenant list,

SKINNER is identified as the tenant of the storage unit located at 2000 Seger Drive,

unit #S74 and the storage unit located at 2280 Seger Drive, unit #S281.

      65.     On November 6, 2019, Detective Bloomenrader and DCI SA George met

with CI #19-1576. At that time, the CI stated that in the evening hours of November

5, 2019, the CI was with MARTIN and SKINNER at the Ramada Inn, room #224. The

CI stated that Kateri PATTON was also in the hotel room. The CI stated that PATTON

traded MARTIN at least one (1) firearm in exchange for methamphetamine. The CI

stated that MARTIN also brandished a military style rifle, which was being stored under

the bed. The CI stated the rifle had a scope and the ammunition for the rifle was being

stored in a sock.    The CI overheard MARTIN and SKINNER discussing taking the

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firearm to the storage unit located at 2000 Seger Drive, unit #74, Rapid City. The CI

further overheard MARTIN and SKINNER discussing getting the firearms to California.

The CI stated that multiple individuals arrived at SKINNER's hotel room in order to

purchase methamphetamine.

      66.       On November 7, 2019, after reviewing the information from Rapid City Self

Storage, an Electronic Video Surveillance Unit (EVSU) was setup to observe the area of

the storage units located at 2000 Seger Drive, Rapid City, SD. The EVSU was moved

on November 15, 2019 in order to obtain a better view of storage unit #74.

      67.       After reviewing video of the storage unit located at 2000 Seger Drive, Unit

#74, SA George observed a red Ford SUV occupied by a black male, believed to be

MARTIN, and a Native American female, believed to be SKINNER, frequent the storage

unit on multiple occasions. For a majority of the incidents, the individual believed to

be MARTIN enters the storage unit and exits a short amount of time later. Nothing can

be observed being taken to or away from the storage unit via the EVSU.

      68.       On November 7, 2019, SA George spoke with management at the UPS

stores in Rapid City, SD. SA George was advised that MARTIN is a frequent customer

and began shipping packages from the Rapid City area UPS stores in July, 2019. UPS

provided SA George with a list of all packages MARTIN has shipped, which have been

identified as the following:

            •   7-8-19: A carrier letter to Jonathan Belaphontay in San Bernardino, CA,
                weighing 13.7oz. Description of contents: Legal Docs and sent next day air
                for $72.41.
            •   7-8-19: A carrier letter to Jesse Stewart in Cary, NC, weighing 4.7oz.
                Description of contents: Pictures & Card and sent next day air for $42. 96.

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            •   7-16-19: A package to Elise Martin in Las Vegas, NV, weighing 2lbs 4.8oz.
                Description of contents: Clothes and sent UPS ground for $14.92.
         •      7-30-19: A carrier letter to Sasha Cook in Concord, NC weighing llbs
                12.9oz. Description of contents: Books and baby pictures and sent next
                day air for $78. 73.
         •      8-2-19: A package to ALC in Miami, FL, weighing 7.2oz. Description of
                contents: Cell phone and sent UPS ground for $11.86.
         •      8-13-19: A package to Sarah Velvick in Las Vegas, NV, weighing 6lbs
                15. 9oz. Description of contents: Clothes and sent UPS ground for $21.35.
         •      8-19-19: A carrier letter to Christopher James in Las Vegas, NV, weighing
                llbs 6.0oz. Description of contents: DOCS and sent next day air for
                $76.87.
         •      8-19-19: A package to Christopher James in Las Vegas, NV, weighing 5lbs
                11.3oz. Description of contents: Clothing, Shoes and sent next day air for
                $125.28.
         •      9-26-19: A package to Sasha Cook in Concord, NC, weighing 11. 9oz.
                Description of contents: DOCS and sent·next day air for $103.53.
         •      10-4-19: A package to Christopher James in Las Vegas, NV, weighing
                11.8oz. Description of contents: DOCUMENTS and sent next day air for
                $123.49.
         •      10-9-19: A carrier letter to Jerry Cleveland in San Bernardino, CA,
                weighing 9.2oz. Description of contents: Card, Necklace and sent next day
                air for $72 .41.
         •      10-21-19: A carrier letter to Christopher James in Las Vegas, NV, weighing
                12.4oz. Description of contents: DOCS and sent next day air for $104.41.
            •   11-5-19: A package to Christopher James in Las Vegas, NV, weighing 5lbs.
                Description of contents: CLOTHING and sent next day air for $96.59.
            •   11-27-19: A carrier letter to Sasha Cook in Concord, NC, weighing 1.7oz.
                Description of contents: LETTER and sent next day air for $41.44.

      69.       On November 8, 2019, CI #19-1576 advised law enforcement that he/she

. was able to purchase methamphetamine from SKINNER. It was determined that the

CI would travel to SKINNER's hotel room located at the Ramada Inn, room #224. When

the CI arrived, MARTIN and SKINNER were located in the hotel room. The CI and

SKINNER exchanged the prearranged methamphetamine for documented agent

cashier funds. While in the hotel room, the CI stated that MARTIN and SKINNER were

discussing possible parcels being shipped.
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      70.   On November 12, 2019, CI #19-1576 advised law enforcement that he/she

was able to purchase methamphetamine from SKINNER. Again, the CI was instructed

by SKINNER .to travel to the Ramada Inn, room #224. When the CI arrived at the

Ramada Inn, the CI made contact with SKINNER. The CI provided SKINNER with

documented agent cashier funds in exchange for methamphetamine. In addition, the

CI discussed with SKINNER the cost of one (1) pound ofmethamphetamine. SKINNER

stated that would need to be discussed with MARTIN.

      71.   On November 20, 2019, law enforcement were conducting a controlled

purchase operation regarding a separate investigation in Rapid City, SD. During the

controlled purchase operation, the CI was notified that the methamphetamine would

arrive at the controlled purchase location in approximately one (1) hour. Ultimately, a

red Ford Escape bearing South Dakota license plate number 2V7098 arrived near the

location of the controlled purchase operation.   Law enforcement observed three (3)

individuals inside the vehicle. MARTIN and SKINNER were positively identified by law

enforcement to be in the vehicle.     The other individual was an unknown Native

American male. Shortly after arrival, the Native American male exited the vehicle and

approached the controlled purchase location.     The CI then received a clear plastic

baggie containing one (1) ounce of suspected methamphetamine, which was provided

to law enforcement.

      72.   On November 27, 2019, the Pennington County Sheriffs Office (PCSO)

made contact with the occupants of a vehicle following a driving complaint. The vehicle

was found parked at the residence located at 723 Myrtle Avenue, Apartment #1 , Rapid

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City, SD, which is the residence of Keeler STANDS. Law enforcement knocked on the

door of the residence and made contact with Veronica Jeffords. When Jeffords opened

the door to the residence, law enforcement detected the odor of marijuana emulating

from inside the residence.    Shortly thereafter, law enforcement made contact with

Jefford's mother, Betty, who admitted to driving the vehicle at the time of the· driving

complaint. Betty provided to law enforcement that she has been taking care of Jefford's

child for the past six (6) months due to Jefford's drug use.

      73.    While speaking with Betty, STANDS and Jeffords exited the residence

located at 723 Myrtle Avenue, Apartment #1, Rapid City, SD. STANDS informed law

enforcement that the above identified address was STANDS' primary residence. Law

enforcement informed STANDS that the odor of marijuana was detected coming from

STANDS' residence each time the door was opened. STANDS stated that the neighbors

often smoke marijuana at the odor was coming from a separate residence; however, it

was later learned by law enforcement that the neighboring apartment was vacant as

the neighbors recently moved out.      STANDS denied the presence of marijuana or

methamphetamine in the residence.

      74.    On December 4, 2019, CI #19-1576 informed law enforcement that

SKINNER and MARTIN were discussing moving to an apartment and may have put a

deposit down for a permanent residence. The location of the residence was not known

to the CI at that time.

      75.    On December 7, 2019, SA George observed SKINNER and an unknown

male, via the EVSU, arrive at the storage unit located at 2000 Seger Drive, .unit #73,

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Rapid City, SD.     SKINNER and the unknown male loaded multiple items into

SKINNER's vehicle identified as the red Ford Escape bearing South Dakota license p late

number 2V7098 . After loading multiple items into the vehicle, SKINNER and the

unknown male travelled to the Jackpot Casino and then to a residence located at 706

Taylor Avenue, Apartment# 2 Rapid City, SD 57701. ATF SA Cook and DCI SA George

conducted surveillance of the residence. At that time, SKINNER's vehicle was observed

parked at the residence. SKINNER and the unknown male were observed unloading

items from the vehicle and placing the items within the residence. Cleaning supplies

and a vacuum was also observed.        It appeared as though SKINNER was moving into

the residence.

      76.   Beginning on December 7, 2019 and continuing until present, through the

use of physical surveillance and electronic monitoring devices, SKINNER has been

commonly frequenting the residence at 706 Taylor Avenue, Apartment #2, Rapid City,

SD 57701. Based on the time of the day and frequency of activity at the above identified

residence, it is believed that SKINNER does reside at the residence. SKINNER is also

often observed travelling from the above identified residence to the Econo-Lodge located

at 625 East Disk Drive, Rapid City, SD 57701, which is where MARTIN is currently

residing. Vehicles registered to unknown individuals have also been observed at the

residence for short periods of time.

      77.   On December 11, 2019, DCI SA BJ George obtained a guest list and

room assignment for the Econo-Lodge hotel located at 625 East Disk Drive, Rapid

City, SD 57701. It was determined that MARTIN is currently staying in room number

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326 at the above identified hotel. MARTIN has a scheduled check-out date of

December 12, 2019.

      78.   On December 11, 2019, SA George contacted Rapid City Self Storage and

requested information regarding the storage units belonging to Sara SKINNER. At

that time, SA George was advised that SKINNER's monthly rent was currently due for

the storage units located at 2280 Seger Drive, Unit #281 and 2000 Seger Drive, Unit

#74, Rapid City, SD 57701. SA George was further advised that Rapid City Self

Storage management contacted SKINNER who advised that she wished to maintain

possession of both storage units and would pay the monthly rent. Further, SKINNER

provided an updated mailing address of 706 Taylor Avenue, Apartment #2, Rapid

City, SD 57701.


                                      Requests

    I request authorization to execute this search warrant without providing prior

notice, i.e. "no knock", based on the following circumstances: because Skinner and

Martin are known to associate with firearms and have criminal histories including

assault arrests, law enforcement knocking and announcing their presence under the

particular circumstances would threaten officer safety, be futile, or inhibit the

investigation of crime.

    I request authorization to execute this search warrant at any time in the day or

night based on the following circumstances: objects to be seized are in danger of

imminent removal or destruction and persons to be seized are likely to flee.


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                                           Request to Seal

       I request an order sealing this case until further order of the Court, in that this

 search is being conducted as part of an ongoing federal criminal investigation and

 contains information from persons cooperating with law enforcement. Disclosure of

 information contained in the documents incorporated in this search and filed with the

 Court could seriously jeopardize t?is ongoing investigation.

                                        CONCLUSION

      1.    I submit that based on the facts set forth in this affidavit, there is probable

cause to believe the locations described in Attachment A contains evidence, fruits, and

or instrumentalities of violations of 21 U.S.C. §§ 84l(a)(l) and 846. Therefore, I request

permission to search the premises in Attachment A for the evidence, fruits, and

instrumentalities identified with particularity in Attachment B.

      2.    Based on the foregoing, I request that the Court issue the proposed

search warrant.


                                                Riley J. Cook, Special Agent
                                                Bureau of Alcohol, Tobacco, Firearms,
                                                and Explosives


 Sworn to before me and: 0 signed in my presence.
                      [8:1 submitted, attested to, and acknowledged by reliable electronic
 means.

        this 11th day of December, 2019.



                                                Daneta Wollmann
                                                United States Magistrate

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